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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8   FREDERICK O. SILVER,

 9                               Plaintiff,                  Case No. C25-1024-KKE

10           v.                                              ORDER

11   TRANSWORLD SYSTEMS INC., et al.,

12                               Defendants.

13

14           Plaintiff has filed an application to proceed in forma pauperis (“IFP”) in the above-

15   entitled action (dkt. # 1) and a response to the Court’s order to show cause why IFP should not

16   be denied based on incomplete information. (Dkt. # 5.) Plaintiff does not appear to have funds

17   available to afford the $405.00 filing fee. Accordingly, Plaintiff’s application to proceed IFP

18   (dkt. # 1) is GRANTED. Plaintiff shall note that leave to proceed as a pauper does not

19   necessarily entitle Plaintiff to a waiver of any other cost(s) of litigation.

20           The Clerk is directed to send copies of this Order to Plaintiff and to the Honorable

21   Kymberly K. Evanson.

22           //

23           //




     ORDER - 1
            Case 2:25-cv-01024-KKE         Document 6   Filed 06/09/25    Page 2 of 2




 1         Dated this 9th day of June, 2025.

 2
                                                    A
 3                                                  MICHELLE L. PETERSON
                                                    United States Magistrate Judge
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